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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-94 (RBW)
                                     )
ANTHONY MARIOTTO,                    )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER



Termination of Probation ( the defendant s motion ), ECF No. 41, it is hereby

       ORDERED that, on or before February 6, 2023, the United States Probation Office shall

                                                                         motion. It is further

       ORDERED that, on or before February 6, 2023, the government shall file a notice on the

docket, stating its rationale for opposing the defendant s motion. It is further

       ORDERED that, on February 28, 2023, at 10:30 a.m., the parties shall appear before the

                                        motion, via videoconference.

       SO ORDERED this 20th day of January, 2023.



                                                               ________________________
                                                               REGGIE B. WALTON
                                                               United States District Judge
